















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 11th
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Eastland,
Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion

&nbsp;

State of Texas

Appellant

Vs.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No.
11-00-00264-CR B Appeal from Taylor County

David Francisco Perez

Appellee

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
Remand

Abilene
Police Officer Kevin Pyeatt was on patrol looking for a suspect in a recent
purse snatching incident.&nbsp; As he was
passing an apartment complex, Officer Pyeatt saw David Francisco Perez and
slowed down to get a better look at Perez.&nbsp;
Perez did not exactly match the description of the suspect that Officer
Pyeatt had.&nbsp; Perez stopped, looked at
the officer, and ran into Apartment No. 1916.&nbsp;
Officer Pyeatt followed and knocked on the apartment door.&nbsp; When Perez opened the door, Officer Pyeatt
smelled marihuana.&nbsp; Perez later
consented to a search of the apartment, and officers recovered a large bag of
marihuana and various contraband items.&nbsp;


The trial
court granted Perez=s
motion to suppress on the grounds that Officer Pyeatt did not have a reasonable
suspicion to contact Perez. This court affirmed the trial court=s ruling, holding that the police officer did
not have specific, articulable facts on which to base the original detention of
Perez.&nbsp;&nbsp; State v. Perez, 56 S.W.3d 796

(Tex.App. - Eastland 2001). 

&nbsp;In State v. Perez, 85 S.W.3d 817

(Tex.Cr.App.2002), the Court of Criminal Appeals determined that Officer Pyeatt
did not have to have a reasonable suspicion before knocking on the apartment
door he saw Perez enter.&nbsp; The Court of
Criminal Appeals reversed the judgment of this court and remanded the cause for
further consideration consistent with its opinion.

The
parties have not filed supplemental briefs on remand.&nbsp; Therefore, we will reexamine the State=s sole issue in its original brief that the
trial court abused its discretion by granting the motion to suppress in light
of the Court of Criminal Appeals=s opinion.








The State
contends that Officer Pyeatt did not need to have any standard of suspicion to
knock on the apartment door. The State characterizes the knocking on the door
as a Anon-detention contact.@&nbsp; The
Court of Criminal Appeals has agreed with the State=s characterization and held that reasonable
suspicion was not required. Therefore, the issue is sustained.

The order
of the trial court granting the motion to suppress is reversed, and the cause
is remanded to the trial court.

&nbsp;

W. G.
ARNOT, III

CHIEF
JUSTICE

March 20, 2003

Publish.&nbsp; See TEX.R.APP.P. 47.2(b).

Panel consists of:&nbsp; Arnot, C.J., and

Wright, J., and McCall, J.





